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UNITED STATES DISTRICT COURT a
DISTRICT OF NEW JERSEY s

 

IN RE: BENICAR
(OLMESARTAN) PRODUCTS MDE No. 2606
LEABRLITY LITIGATION

 

 

HON. ROBERT B. KUGLER
THIS DOCUMENT RELATES TO ALL
CASHES

 

 

 

 

 

ARFIDAVIT OF STEPBEN M. LAGANA, M.D.

STATE OF NEW YORK:
COUNTY OF NEW YORK:
STEPHEN M. LAGANA, M_D., states as follows:

1, I am a physician retained as an expert witness in this litigation. This Affidavit is

 

based upon my personal knowledge.

2. I have been provided the March 13, 2017 Memorandum Opinion and Order of the

 

Court (“Order”). This Affidavit is submitted in response, as directed in the Order.
3. I have reviewed the parts of my deposition testimony referenced in the Court’s

Order. Respectfully, I did not testify that I “reviewed the charts of 16 patients who were

exposed to olmesartan who were classified as having seronegative celiac disease.” When I stated
“we started in our hospital reviewing charts of patients,” I was referring to the group of doctors I
work with at the Celiac Center. The records were reviewed by other physicians, who had direct
clinical involvement with the patients. As I next stated, “And my clinical colleagues uncovered a
number of cases — I believe there were 16 cases — of patients who were exposed to olmesartan

who were classified as having seronegative celiac disease.” (24:7-26:14). The reference to 16

 
~—-——-Caget:15-md-02606-RBK-JS~ Document 1064-1 -- Filed 03/29/17 Page 2 of 15 PagelD: 11382 5

patients is a reference to a published study titled: Villous Atrophy and Negative Celiac Serology:
A Diagnostic and Therapeutic Dilemma, Am J Gastroenterol 2013;108:647-653, authored by
Columbia physicians. The senior author, and Guarantor of the article, is the senior clinician in
the Celiac Center, Dr. Peter Green, who is the doctor who first advised us of the upcoming
publication of the Mayo Clinic paper regarding olmesartan. IT am not an author of the article. In

that study, copy attached as Exhibit 1, the authors discussed 72 patients who had been diagnosed

 

at Columbia with seronegative villous atrophy (meaning they had villous atrophy, which is

 

characteristic of celiac disease, but were found to test negative on celiac serologies). The article

states in part, on page 650: “We identified 16 patients taking olmesartan, of whom 68% had

 

increased subepithelial collagen in addition to VA. Upon discontinuation of this medication, all
15 patients on whom we had follow up data improved symptomatically, no longer requiring
immunosuppressive therapy if they had previously been on it (budesonide, prednisone, and .

azathioprine), and some have resumed a gluten-containing diet with no recurrence of symptoms.

 

Notably, one patient who had symptomatic improvement off olmesartan was then rechallenged
with the medication and symptoms recurred. The role of olmesartan and other angiotensin
receptor blockers in enteropathy needs to be investigated further.” I did not review the medical
charts of the 16 patients referenced, that was done by some or all of the clinicians who authored
the article, to the best of my knowledge. I was asked on page 32 of my deposition who was .

involved in contacting the 16 patients discussed in the article, and testified: “Well, we have a

 

Celiac Disease Center with several physicians who deal with adults’ complicated celiac disease,
such as Dr. Peter Green, Dr. Benjamin Lebwohl, and Dr. Suzanne Lewis. So I would say that
this was probably a center-wide effort and who was actually making the phone calls, I couldn’t

tell you.” (32:8-19).
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4. On page 126 line 16 to page 27 line 9 of my deposition, I testified that I saw

 

“follow up biopsies of patients who had discontinued olmesartan on the basis of

recommendations from Columbia physicians and the degree of improvement, striking, striking.”

 

This occurred in a clinical context, before | was ever contacted to be an expert in this litigation. [
did not do so in connection with the writing of the report in this case, as it occurred years earlier.

It was the review of biopsies showing improvement with discontinuation of olmesartan that I

 

reference on page 27 as having, “contributed to my thinking and it seemed to me well beyond
what you could imagine would be a chance association.” | was not performing a retrospective
chart review. Furthermore, as I was encountering these cases in clinical practice, | was not

keeping a list of such patients. I then pointed out in my deposition: “And since then, Pve

 

followed the medical literature pretty closely. ] read everything I see that relates to olmesartan
enteropathy and I have over time certainly become more convinced that this drug does cause this
syndrome in some patients.” (27:10-17).

as I understand that one issue is whether I have “possession, custody or control” of

 

the medical records of the patients I was discussing in the deposition. I do not own, possess, or
have custody or aniiteal of the medical records, as they are owned, maintained, and controlled by , le
my employer, Columbia University. I do not have the right to redact or produce the medical |
records. I have confirmed this with the Columbia legal department. .

6. I provided the Memorandum Opinion and Order to the Columbia legal
department, and asked for written confirmation as to the ownership of the medical records and ;
whether I have the right or ability: to redact and — the medical records. In response I was

provided the letter attached to this Affidavit as Exhibit 2. Columbia has confirmed that I do not
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own. the medical records, I do not have possession, custody, or control, nor do I have the right to
produce the medical records, redacted or not.
7. The medical records are maintained in the electronic records system of Columbia

University, and are maintained by the medical records department. In order to obtain the reports

 

of the biopsies that I reviewed, one would need to serve a subpoena on Columbia University, and
request: “The pathology reports of patients of the Columbia Celiac Center, for biopsies reviewed
by Dr. Stephen Lagana, for patients who stopped using Olmesartan, resulting in improvement in
the histopathology.” If Columbia permits me to:do so, that request will enable me to review
pathology reports, for production pursuant to the subpoena.

8. I am concerned about the request to produce the medical records of patients who

are not plaintiffs in this litigation. I believe it is an invasion of patients’ privacy, and is a

 

distraction and burden for my employer, however I will comply and assist in the production of
the medical records if requested to do so by my employer, Columbia, — to a subpoena.
Due to my concerns over patient privacy, and the involvement of and burden this is placing on
my employer, if I had known when I was asked to act as an expert witness in this litigation that I

would be subjected to an Order to produce the medical records of Columbia patients uninvolved

 

in litigation, I would have declined to act as an expert. If medical records are to be produced, I
request that they be redacted to remove all personal identification, including aspects of the

records such as dates of procedures, dates of office visits, and social history, from which the

 

patient would easily recognize himself or herself, and that an Order be entered limiting access to

the heavily redacted medical records, only to those who would have to see the records.

 

 
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Za aa y

STEPHEN M. LAGANA, MD.
Sworn to and Subscribed
Before me this 2.5" Day

Of March, 2017.

 

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P ert apathy Leet ts
Notary Pul

blic of the State of New York

PATRICIA SACHS CATAPANO
NOTARY PUBLIC, State of New York
No. 4691405 .
‘Qualified in Westchester County
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EXHIBIT
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nature publishing group

THE RED SECTION

Villous Atrophy and Negative Celiac Serology:
A Diagnostic and Therapeutic Dilemma

Marisa DeGaetani, MD", Christina A. Tennyson, MD", Benjamin Lebwohl, MD, MS, Suzanne K. Lewis, MD!?, Hussein Abu Daya, MD',
Carolina Arguelles-Grande, MD', Govind Bhagat, MBBS? and Peter H.R. Green, MD!”

 

Patients with villous atrophy (VA) and negative celiac disease (CD) serologies pose a diagnostic and

therapeutic dilemma. When a definitive etiology for VA is not determined, patients are characterized
as having unclassified sprue (US), the optimal management of which is unknown.

We studied adult patients with VA on biopsy and negative celiac serologies, evaluated at our tertiary

referral center over a 10-year period. Testing for HLA DQ2/8 alleles, antienterocyte antibodies, giardia
stool antigen, bacterial overgrowth, total serum immunoglobulins, and HIV was noted. Treatment,

The most common diagnoses of the 72 patients were seronegative CD, medication-related

villous atrophy, and US. Of those with US, the majority reported symptomatic improvement with
immunosuppressive therapy. Some patients initially labeled as unclassified were found to have VA

OBJECTIVES:
METHODS:
response, and repeat-biopsy findings were recorded.
RESULTS:
associated with olmesartan use.
CONCLUSIONS:

The role of medications in the development of VA and the optimal dose and length of

immunosuppression for patients with US should be investigated further.

 

Am J Gastroenterol 2013;108:647-653; doi:10.1038/ajg.2013.45

Introduction

Celiac disease (CD) is an immune-
mediated disorder occurring in people
genetically susceptible to gluten and results
in varying degrees of villous atrophy (VA),
crypt hypertrophy, and an increase in
intraepithelial lymphocytes (1,2). How-
ever, these biopsy findings are not specific
for CD. The diagnosis of CD is supported
by positive antibody testing (tissue trans-
glutaminase, deamidated gliadin peptide,
and antiendomysial antibodies) as well as
symptomatic and histologic response to
a gluten-free diet (GFD). Most with CD
have positive celiac serologies, but not all.
Lesser degrees of VA are more frequently
seen in seronegative CD patients (3).

Genetic testing for the HLA alleles DQ2
and/or DQ8 supports the diagnosis (2).
Although CD is the most common cause
of VA (4), patients with VA and negative
celiac serologies are encountered, posing a
diagnostic and therapeutic dilemma. Possi-
ble etiologies associated with VA and absent
celiac serologies include common variable
immunodeficiency (CVID), autoimmune
enteropathy, small intestinal bacterial over-
growth, infection, intestinal lymphoma,
collagenous sprue, Crohn’s disease, and
tropical sprue. VA can also result from cer-
tain medications. When celiac serologies
are negative on a gluten-containing diet,
alternative etiologies for VA should be con-
sidered before diagnosis of seronegative CD,

to prevent an unnecessary lifelong GFD (5).
At times, no definitive etiology for VA can
be determined, and the patient is labeled as
having unclassified sprue (US).

We analyzed our prospectively main-
tained Celiac Disease Center database to
identify patients with seronegative VA. In
addition to describing the various etiolo-
gies of seronegative VA, we also examined
the response to treatment.

Methods

We report a series of adult patients with
seronegative VA evaluated over a 10-year
period (from 2001 to 2011) at a tertiary-
care referral center. Patients included in
this study were those with VA on duodenal

 

‘Celiac Disease Center, Columbia University College of Physicians and Surgeons, Columbia University Medical Center, New York, New York, USA;

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biopsy and negative celiac serology
(including tissue transglutaminase (TTG),
deamidated gliadin peptide (DGP), and
antiendomysial antibodies). Data regard-
ing demographics, concomitant autoim-
mune disease, family history of CD, and
initial biopsy results were collected. Test-
ing was performed for human leukocyte
antigen (HLA) DQ2/8 alleles, antien-
terocyte antibodies, giardia stool antigen,
bacterial overgrowth, HIV, serum immu-
noglobulins, and T-cell receptor gene
rearrangement. We sought the use of spe-
cific medications that have been involved
with the development of VA, including
mycophenolate mofetil and methotrex-
ate; in light of the recently published case
series from the Mayo Clinic describing
an association between olmesartan and a
sprue-like syndrome (6), we also identi-
fied patients taking this medication. Treat-
ment, response, and repeat-biopsy results
were recorded.

Patients in this study were considered to
have seronegative CD if they had negative
TTG, DGP, and antiendomysial antibody
tests, positive genetic tests for CD, biopsy
findings that were consistent with a diag-
nosis of CD (most notably intraepithelial
lymphocytosis together with VA, which
has been shown to be a sensitive marker for
CD (7)), and response to a GFD (sympto-
matically and/or histologically), and tested
negative for other etiologies of VA. As prior
studies have demonstrated that the use of a

single antibody test can underdiagnose CD
(8,9), detection of more than one negative
antibody test was looked for before a patient
was labeled with seronegative CD.
Characteristic features used to diagnose
patients with other etiologies of seronega-
tive VA are as follows: CVID required
decreased serum levels of at least two
immunoglobulin subtypes in the setting
of a normal albumin level, supported by
biopsy findings consistent with CVID,
including decreased plasma cells in the
lamina propria. All patients with a diagno-
sis of giardiasis had positive giardia stool
testing and responded symptomatically
and/or histologically to treatment with
metronidazole. Small intestinal bacterial
overgrowth was diagnosed with positive
hydrogen breath testing and symptomatic/
histologic response to antibiotics. Med-
ication-related VA was diagnosed after
improvement in symptoms and/or histol-
ogy once a medication reported to cause VA
was discontinued. Diagnosis of collagenous
sprue required a thickened subepithelial
collagen band on histology. In the diagno-
sis of autoimmune enteropathy, we looked
for a strong history of autoimmune dis-
ease and gut autoantibodies, supported
by biopsy findings characteristic of this
diagnosis, including increased plasma cells
in the lamina propria, decreased goblet
cells, and lack of increased intraepithelial
lymphocytes. Patients with tropical sprue
had traveled to an endemic area, had low

 

 

 

m Number of patients
(N = 72)

 

 

 

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Figure 1. Etiologies of seronegative villous atrophy. AIE, autoimmune enteropathy; CD4 L, CD4* T-cell lym-
phoma; CS, collagenous sprue; CVID, common variable immunodeficiency; EATL, enteropathy-associated
T-cell lymphoma; GM, gastric metaplasia; MRVA, medication-related villous atrophy; SIBO, small intestinal
bacterial overgrowth; SN CD, seronegative celiac disease; TS, tropical sprue; US, unclassified sprue.

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Table 1. Demographics of patients with
seronegative villous atrophy

Total N 12
Female (N, %) 37 (51.4%)
Mean age 59
(years) (range 29-85)
Presented with diarrhea (N,%) 55 (76.4%)
Mean time of follow-up (months) 26.4

B12 levels, and improved with antibiot-
ics. A diagnosis of lymphoma required a
monoclonal population of T cells. Patients
were labeled with unclassified sprue (US)
if they had no clear unifying diagnosis to
account for their VA. Clinical response was
defined as resolution of symptoms. Histo-
logic response was defined as improvement
in the degree of VA on duodenal biopsy.

This study was approved by our institu-
tional review board.

Results

A total of 72 patients were identified
with seronegative VA. All patients had
been referred with a diagnosis of poorly
responsive/refractory CD. Demographic
information is provided in Table 1. Final
diagnoses included: seronegative CD, 20
(28%); medication-related VA, 19 (26%);
US, 10 (14%); CVID, 4 (6%); autoimmune
enteropathy, 3 (4%); giardia, 3 (4%); CD4*
small intestinal T-cell lymphoma, 3 (4%);
tropical sprue, 3 (4%); bacterial over-
growth, 2 (3%); collagenous sprue, 2 (3%);
enteropathy-associated T-cell lymphoma,
1 (1%); Crohn's disease, 1 (1%); and exten-
sive gastric metaplasia, 1 (1%) (Figure 1
and Tables 2-5).

The mean follow-up for all patients was
26.4 months. Two patients died of unre-
lated causes, two died of complications
of their disease (intestinal failure related
to extensive gastric metaplasia and trans-
formation of CD4* small intestinal T-cell
lymphoma to an aggressive form), and
two developed lymphoproliferative disor-
ders (multiple myeloma and B-cell lym-
phoma).

Seronegative CD was the most com-
mon diagnosis in our study, seen in 20 of
72 patients (28%). This was followed by
medication-related VA, largely as a result
of olmesartan use (16 of 19 patients in this
category). The other culprit medications
were mycophenolate mofetil (2 patients)

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Table 2. Seronegative celiac disease

Fam Clinical Degree Required F/u time
Age Hx Culprit Ig HLA Degree VA improv./ of VAf/u  F/ubx immuno- after initial

No.  (y)/sex CD Aldz SIBO? meds defic. Giardia A-EAb DQ2/8 TCR initialbx | GFD biopsy improv.? suppression visit (mo.)
1 59/M - - NT - - - - + NT PVA + NA NA - 12

2 36/F - - NT - - - NT NT aig DNS + Normal + - 22

3 55/F - NT - - NT NT + NT PVA + NA NA - 72

4 44/M + NT - - NT NT + NT PVA + Normal + - 36

5 48/F - + + - - - NT NT - TVA + PVA + = 60

6 43/F - - NT - - - NT + NT PVA + Normal + - 36

7 33/M + - NT - - NT NT + NT STVA + NA NA - 96

8 42/M - - NT - IgM NT NT + - PVA + Normal + - 12

9 72/M - - NT - - NT - + NT PVA + NA NA - 4

10 29/M - - NT - - NT - NT NT STVA + NA NA - 5

11 72/M - - NT - - — Weak + + NT TVA + NA NA - 10
12 40/F - - + - - NT NT + NT PVA + NA NA - 24
13 64/M - - NT - - NT NT + NT PVA + NA NA - 12
14 67/F - + + - IgM - NT + NT TVA + Normal + - 12
15 58/M - - NT - - - NT NT NT PVA + NA NA - 3

16 70/M - - NT - - NT - + - DNS + NA NA + 6

17 60/F + - NT - - NT - + - PVA + NA NA + 108
18 70/M - - - - IgM NT NT NT NT STVA + Normal + + 24
19 62/F - - + - IgM NT NT + - STVA + PVA + 36
20 47IF - - - - IgM - - + - DNS + NA NA + 5

A-E Ab, anti-enterocyte antibody; Al dz, autoimmune disease; bx, biopsy; CD, celiac disease; defic., deficiency; DNS, degree of villous atrophy was not specified;
Fam Hx, family history; f/u, follow-up; GFD, gluten-free diet; HLA DQ2/8, human leukocyte antigen DQ2/8 alleles; improv., improvement; NA, not applicable; No.,
patient number; NT, not tested; PVA, partial villous atrophy; SIBO, small intestinal bacterial overgrowth; STVA, subtotal villous atrophy; TCR, T-cell receptor; TVA,
total villous atrophy; VA, villous atrophy.

*Remote history of treated small intestinal bacterial overgrowth.

Table 3. Medication-related villous atrophy :
Clinical Bx

improv. improv.
Degree = Increase _ Increase Clinical Clinical Clinical after after = Flu
Age HLA Culprit VA ini- subepithelial JEL improv./ improv./ improv/ Relapse stopping stopping time
No.  (y)/sex DQ2/8 meds? tial bx collagen onbx GFD GFD Abx Abx Is Is off IS? med med (mo.)
I 61/M + Olmesartan TVA + + + - + ? + + + + NA 24
2 73/F + Olmesartan TVA + + + - - NA + + + + NA 21
3 82/M NT Olmesartan PVA + + + - + ? + + + + NA 66
4 63/M + Olmesartan STVA + + + - - NA + + + + NA 50
5 69/F - Olmesartan TVA + + + - - NA + + + + 12
6 66/M + Olmesartan TVA + + + - + + + + 12
Z 75/F + Olmesartan DNS + + + - + + + ? NA 6
8 63/F + Olmesartan TVA + + + - - NA + + + + NA 42
9 52/M NT Olmesartan STVA - + - + - + + + + NA 18
10 58/F + Olmesartan PVA + - + - - NA + + + + NA 24
Ly 83/M + Olmesartan DNS - + + - + - + + + + NA 11
12 67/F + Olmesartan PVA + - + = + - + + + + NA 8
13 75/M + Olmesartan TVA - - + + - NA + + + + NA 21
14 68/F + Olmesartan TVA - + + - + - + + + + NA 36
15) 62/M + Olmesartan TVA + + + - + - + + + + NA 10
16 64/F NT Olmesartan DNS - - + - - NA + + + + NA 12
Lid) TAIF + MMF PVA + - + - - NA NA NA? NA + NA 7
18 57/F NT MMF PVA - - - NA - NA NA NA? NA + NA 3
19 67/F NT — Methotrexate PVA - - + + - NA NA NA? NA + + 120

Abx, antibiotics; bx, biopsy; f/u, follow-up; GFD, gluten-free diet; HLA DQ2/8, human leukocyte antigen DQ2/8 alleles; IEL, intraepithelial lymphocytes; improv., improve-
ment; IS, immunosuppression; MMF, mycophenolate mofetil; NA, not applicable; No., patient number; NT, not tested; PVA, partial villous atrophy; STVA, subtotal villous
atrophy; TVA, total villous atrophy; VA, villous atrophy.

Culprit meds were immunosuppressive agents.

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and methotrexate (1 patient). Twelve of the
patients with medication-related VA had
biopsies consistent with collagenous sprue
(11 olmesartan and 1 mycophenolate). US
was seen in 10 of 72 patients (14%); 70%
were female, and the mean age was 62 years
(range 33-82). All US patients were symp-
tomatic at presentation, diarrhea being the
main complaint in 70%. Three patients
had a history of autoimmune diseases,
none had a family member with CD, and
70% were positive for HLA DQ2/8. Initial
biopsy revealed partial villous atrophy in
4 of 10 patients, subtotal villous atrophy
in 1 of 10, and total villous atrophy in 4
of 10. The degree of VA was not specified
in 1 patient. Increased intraepithelial lym-
phocytes were seen in 90% of patients. The
results of additional diagnostic studies are
shown in Table 5. One patient (patient 8)
subsequently developed a low-grade B-cell
lymphoma in the bone marrow with no
evidence of small intestinal involvement.
Eight patients with US were tried on
a GFD, but only 2 patients (25%) expe-
rienced initial symptomatic improve-
ment. One patient showed no histologic
improvement on repeat biopsy, and the
other showed some degree of histologic
improvement; however, repeat biopsy was
performed only after immunosuppressive
therapy was started. Response to a GFD is
not a good predictive factor for CD, as it
has not been shown to be a specific test for
CD (10,11). Six patients were treated with
antibiotics, and one reported improvement
in symptoms (patient 9). She was treated
with rifaximin for 10 days and experienced
temporary improvement of her diarrhea.
Notably, the VA on her repeat biopsy had
improved before antibiotic therapy, but
histology remained abnormal. Eighty
percent received immunosuppressive
agents, and 86% of these showed symp-
tomatic improvement in follow-up data.
Medications included budesonide, beclo-
methasone, prednisone, azathioprine, and
6-mercaptopurine. Of these patients, all
experienced improved symptoms within 2
months. Only one patient (patient 5) was
able to successfully stop treatment after 4
months of therapy. One patient (patient 1)
had no response to any treatment, and one
patient was lost to follow-up after immuno-
suppressive therapy was started.

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Discussion

Seronegative VA is uncommon; however, it is
important to be able to differentiate between
seronegative CD and other causes of VA, as
their prognosis and treatment are distinct,
despite their often having similar clinical
presentations and biopsy findings. Of the
72 patients seen over a 10-year period at our
single tertiary-care referral center, we found
a definitive etiology for seronegative VA in
approximately 85%. An interesting finding
in our series was the number of patients who
were initially labeled with unclassified sprue
who were ultimately found to have VA as a
result of olmesartan use.

The most common diagnosis seen in
our series was seronegative CD. Antibody
testing using TTG IgA and endomysial
IgA is highly sensitive and specific for CD,
whereas antigliadin antibody testing is
not (13-15). The newer DGP assay is also
highly sensitive and specific for CD and has
been shown to detect patients who were
seronegative by TTG testing (16); however,
only one of the patients with seronegative
CD in our study was tested for antibodies to
DGP. Even in IgA deficiency, most patients
can still mount an IgG antibody response
to TTG and gliadin (17,18). However, in
the presence of partial VA or silent or sub-
clinical CD, antibody testing may be nega-
tive (3,19). Our seronegative CD patients
all had histologic findings and responded
symptomatically to treatment with a GFD,
and all eight who underwent repeat biopsy
at the time of clinical improvement had
improved histology.

The second largest group comprised
those with VA from medication use.
Specific medications, including metho-
trexate, mycophenolate mofetil, and
azathioprine, have been considered to
cause VA (20-24), as well as the angio-
tensin receptor blocker olmesartan, as
reported in 22 patients from the Mayo
Clinic (6). These authors also reported
an association between olmesartan and
collagenous sprue (25). We identified 16
patients taking olmesartan, of whom 68%
had increased subepithelial collagen in
addition to VA. Upon discontinuation of
this medication, all 15 patients on whom
we had follow-up data improved symp-
tomatically, no longer requiring immuno-
suppressive therapy if they had previously

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been on it (budesonide, prednisone, and
azathioprine), and some have resumed
a gluten-containing diet with no recur-
rence of symptoms. Notably, one patient
who had symptomatic improvement off
olmesartan was then rechallenged with
the medication and symptoms recurred.
The role of olmesartan and other angio-
tensin receptor blockers in enteropathy
needs to be investigated further.

Unclassified sprue (US), a diagnosis of
exclusion, was seen in 14% of our patients.
Although this result is lower than that
reported by Pallav et al., who diagnosed
unspecified enteropathy in 10 of 30 of
their patients with seronegative VA (10),
before identifying olmesartan as a cause
of VA, we too had considered 30% of our
seronegative patients to have US. Patients
with US all lacked an alternate single uni-
fying diagnosis; however, HLA DQ2/8
alleles were found in 70% of those tested.
Most patients responded to treatment
with immunosuppressive therapy. In our
study, only one patient had an isolated
deficiency of serum IgG as in the series of
Pallav et al. (10). Yet two US patients had
isolated low levels of IgM, and 12 patients
with a known etiology for their VA had an
isolated IgM deficiency. The significance
of detecting low IgM levels in patients pre-
senting with sprue-like disease is unclear
(26), though an association between IgM
deficiency and CD has been reported (27).

Although eight patients were found to
have small intestinal bacterial overgrowth
by breath testing at the time of evaluation
for their VA, in only two was it consid-
ered to be the sole cause of their VA. One
patient with total VA was found to have
enteropathy-associated T-cell lymphoma,
a large-cell high-grade non-Hodgkin's
lymphoma (28), responsible for the VA
without evidence of CD. Additionally,
we identified three patients who were
referred for poorly responsive CD and
found to have VA due to an intestinal lym-
phoma that primarily involved the lamina
propria, which was distended by an
infiltrate of small-sized CD4* T cells. This
is a rare type of primary intestinal T-cell
lymphoma, with only a few reported cases
describing prolonged survival, which can
histologically mimic but is not associated
with CD (29).

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Table 4. Other causes of villous atrophy

Degree
Age Fam VA Clinical Clinical Clinical Degree Flu
Diag- (y)/ Hxof Al Culprit Ig A-E HLA initial improv! improv/ imprv/ VAf/u Flubx time
nosis sex CD dz SIBO? meds? defic. Giardia Ab DQ2/8 TCR bx GFD GFD Abx Abx IS Is bx improv? (mo.)
IgA,
cVvID A5/F = - + = IgG, Seen; + Pees DNSaeaen = + eae ? PVA Ss 3
IgM
IgA,
CVID? 60/M - - NT - IgG, + NT + - DNS + - + + - NA Normal + 12
IgM
GVID ie Se 7S) aie eas he TE nee na BORE gS oi cheer fees De VANE cya ee eee ACE te ese de ipyAe teat
IgA,
cvID 29/F + + NT - IgG, - - + NT PVA - NA - NA + + NA NA 6
IgM
AIE 66/F - - NT - - NT = NT PVA - NA - NA - NA NA NA 5
AIE 59/M - - NT - - - + - TVA + - - NA + TVA = 12
AIE 59/M + - NT - IgM > - + NT PVA - NA + + + NA NA 6
Giardia 54/M - - - - - + - + - TVA + - + + - NA Normal + 12
Giardia 41/M - - NT - - + NT - NT TVA + - + + - NA STVA + 2
Giardia 32/M - - - - - + NT NT NT PVA + - + + - NA Normal + 60
CD4 i
lym- 5SI/F + - - - - NT - - Clonal STVA + - - NA + + STVA - 3
phoma
cD4 if
lym- 46/M - - - - - - NT Clonal TVA + - + - + + TVA - 144
phoma
CD4 e
lym- 70/M - = - - - - NT + Clonal STVA + ~ - NA + + STVA = 30
phoma
SIBO 50/F - - + - - - NT + NT PVA + - + + - NA Normal + 1
SIBO 70/F - - + - - - NT - - TVA + - + + + + Normal + 84
ee TAS) ee Ney AR NI Be RY IN ae ie NN Se eG
ee A0/F nes NT = = =e SteN pec bo aN Tee PVAtece = + fe =a NA NA NA 6
ae Gaye ae ee Ny = z ERG UEw Sir SSeS VAG ora ee rate et oe eee STV Ace eee ioaT
Collag-
enous 34/F + - NT - - NT NT NT - TVA + + + Zi + + PVA + 36
sprue
Collag- Mi
enous 63/M + + NT - - NT - NT Clonal TVA + + - NA + + TVA = 12
sprue
T-cell id
lym- 50/M = - NT - - NT NT + Clonal DNS + - + + - NA NA NA 12
phoma
Gastric Metho-
meta- 68/F - + NT nee IgM - NT + NT TVA + - + - + - TVA - 12
plasia
Hess 76/M - + NT - - - - + - PVA + - - NA + 2. Normal + 72

Abx, antibiotics; A-E Ab, anti-enterocyte antibody; Al dz, autoimmune disease; AIE, autoimmune enteropathy; bx, biopsy; CD, celiac disease; CVID, common variable
immunodeficiency; defic., deficiency; DNS, degree of villous atrophy was not specified; Fam Hx, family history; f/u, follow-up; GFD, gluten-free diet; HLA DQ2/8,
human leukocyte antigen DQ2/8 alleles; improv., improvement; IS, immunosuppression; NA, not applicable; NT, not tested; PVA, partial villous atrophy; SIBO, small
intestinal bacterial overgrowth; STVA, subtotal villous atrophy; TCR, T-cell receptor; TVA, total villous atrophy; VA, villous atrophy.

“Although the patient had positive giardia testing and improved with antibiotics, the initial biopsy had findings consistent with autoimmune enteropathy, and so he
was labeled as such, although it is likely that two processes were contributing to his presentation.

»Patient had biopsy consistent with autoimmune enteropathy.

‘Biopsy done after immunosuppressive therapy but before antibiotic therapy.

that is responsive to a GFD. Additionally,
as the patients were seen by four different
physicians over a 10-year period, differ-

To our knowledge, our series of
seronegative VA is the largest study to

tertiary-care center, it may not be an
accurate representation of seronega-

date. However, given that our population
was composed of referrals made to a

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tive VA in general, which may contain
a higher proportion of seronegative CD

ent patterns of testing for the work-up of

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Table 5. Unclassified sprue

Fam lg
Age Hxof Al Culprit — defi-
No. (y/sex CD dz SIBO meds ciency
82/F - - + - -
2  65/M - - NT - IgM
3 67F = 5 + - =
4 40M - = + Ee =
5 79/F - - NT - IgG
6 78/M - + NT - -
7 62/F - - - - IgA
8  65/F - + - - IgA
9 33/F - = NT = -
1035 40/ earache = leM

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Degree
VA IEL Clinical Clinical Clinical Degree  F/u F/u
Giar- A-E HLA initial on improv improv/ impro/ VAffu bxim- time
dia Ab DQ2/8 TCR bx bx GFD GFD Abx Abx IS Is bx prov.?  (mo.)
= - = - DNS + + - + - PVA - 6
NT NT + NT TVA + - NA + - + + NA NA 1
- Weak + - TVA + + - + - + TVA = 4
+
= - + > STVA + - + - + + NA NA 1
- NT + - TVA + + - NA + + STVA + 6
NT - + - TVA - + - - NA + + N/A NA 1
NT = = - PVAWsaertrates NA + - + 2 PVA = 2
- - + - PVA + - - NA + + PVA - 36
- NT + + PVA + + - + + - NA Nor- + 24
Clonal maP
- NT - NT PVA + + + - NA - NA PVA - 132

Abx, antibiotics; A-E Ab, anti-enterocyte antibody; Al dz, autoimmune disease; bx, biopsy; CD, celiac disease; DNS, degree of villous atrophy was not specified; Fam
Hx, family history; f/u, follow-up; GFD, gluten-free diet; HLA DQ2/8, human leukocyte antigen DQ2/8 alleles; IEL, intraepithelial lymphocytes; improv., improve-
ment; IS, immunosuppression; NA, not applicable; No., patient number; NT, not tested; PVA, partial villous atrophy; SIBO, small intestinal bacterial overgrowth;
STVA, subtotal villous atrophy; TCR, T-cell receptor; TVA, total villous atrophy; VA, villous atrophy.

Biopsy before antibiotic therapy started.

seronegative VA were noted. One area of
testing that was poor was testing for HIV.
Ideally, in all cases clinical response needs
to be confirmed by histologic improvement
on scheduled follow-up biopsies; however,
we could not document this in all cases, as
some patients were lost to follow-up or did
not wish to undergo repeat biopsy.

Proposed work-up for seronegative VA.
On the basis of our results, we propose that
all patients with seronegative VA should
initially be tested for HLA DQ2 and DQ8.
If the test is negative, we would usually
exclude CD. Immunoglobulin deficiency
should also be excluded, both selective IgA
deficiency and CVID. A thorough history
should be obtained, which should include
medication and travel history. We recom-
mend further testing for antienterocyte
antibodies, giardia antigen in the stool,
and HIV, and breath testing for small
intestinal bacterial overgrowth. If there
is suspicion of lymphoma based on the
pathological appearance, further studies
including immunohistochemistry and test-
ing for T-cell receptor gene rearrangement
to identify occult lymphomas can be
performed. Previous and initial biopsies
should be obtained and reviewed by an
experienced gastrointestinal pathologist in
order to elucidate a potential etiology based
on certain biopsy characteristics, for exam-
ple, occult lymphoma and eosinophilic

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enteritis. If no clear etiology can be deter-
mined, and a patient is believed to have
US, we recommend treatment based on
the severity of the patient's illness—initially
corticosteroids, such as budesonide and/
or prednisone, with other immunosup-
pressive agents if necessary. The best agent,
as well as the optimal treatment time,
is unknown and needs to be researched
further; however, our experience with
budesonide would favor it as a first-line
therapy (30). Patients with medication-
related VA typically require immunosup-
pressive treatment for a period of time.

VA with negative celiac serology is
uncommon. While most patients with
seronegative VA in our study had either
CD or other identifiable disease processes,
some patients had VA of unclear etiology
(US) that did not respond to a GFD alone
and required immunosuppression.

CONFLICT OF INTEREST

Guarantor of the article: Peter H.R.
Green, MD.

Specific author contributions: Marisa
DeGaetani: acquisition of data, analysis
and interpretation of data, drafting of
the manuscript; Christina A. Tennyson,
Benjamin Lebwohl, and Suzanne K.
Lewis: study concept and design, acqui-
sition of data, critical revision of the
manuscript for important intellectual
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critical revision of the manuscript for
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Bhagat: study concept and design, critical
revision of the manuscript for important
intellectual content; Peter H.R. Green:
study concept and design, acquisition

of data, analysis and interpretation of
data, critical revision of the manuscript
for important intellectual content, study
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EXHIBIT
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March 23, 2017

By E-mail
To: Stephen M. Lagana, M.D.
Benjamin Lebwohl, M.D.
Subject: In Re: Benica (Olmesartan) Products Liability Litigation

 

Thank you for bringing the Court Order in this matter to my attention. As |
told you, Columbia University owns the patient medical records which you create and
review in your role as a clinical faculty member. You do not have custody, possession
or control of these records, and Columbia does not agree that you may produce these
records to the Court.

Patricia Sachs Catapano
Associate General Counsel

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